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Regarding Civil Case No, 20-13134: Judge Linda V. Parker’s
decision for the sanctioning and disbarment of Attorney Sidney
Powell relating to Case No. 20-815, “Timothy King, et al vs.
Gretchen Whitmer in her official capacity as Governor of the State
of Michigan.”

  
 

Request reconsideration of the decision to #2
Attorney Sidney Powell.

Reasons:
the proceedings...”

Sidney Powell, like any good lawyer, assertively used every method she
could to forward her case of election fraud in Michigan. Her purpose
was not to harass, nor cause churn nor expense. She was striving to
protect the vote of her client and indirectly the vote of half of the US
population. Sidney Powell believed the claims that she made, and
subsequent evidence has proven her claims to be valid.

Specific complaint #1

“1, The absentee voting counts in some counties in Michigan have likely
been manipulated by a computer algorithm and at some time after the
2016 election, software was installed that programmed tabulating
machines to ‘shift a percentage of absentee ballot votes from Trump to
Biden.”

In August 10-12, 2021, new information was released at the
Cybersecurity Symposium in South Dakota demonstrating that the
November 2020 election was manipulated by foreign hackers using
the vulnerabilities of electronic voting machines that were connected

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to the internet. A full 37 terabytes of data from the November 2020
election data were captured. Analysis of the data shows that the
2010 census database was used to inflate voter registration

databases using an algorithm.
(4 minute video)

 

that-has-been-reviewed-for-the-c. html

(2 minute video)

https://rumble.com/vkz40h-dr. -dous-frank-details-how-election-
databases-can-be-hacked-and-inflated-wi.html

(35 minute video)
https://rumble.com/vkynsx-2010-census-was-
inflate-the-2020-vote.html

used-to-fabricate-and-

     

This article describes how votes have been shown to be flipped using
the Dominion machines:

“Antrim County Lawsuit Expert: Votes Can Be Flipped” By Wendi
Strauch Mahoney - May 5, 2021
https://uncoverdc.com/2021/05/05/antrim-county-lawsuit-expert-votes-

can-be-flipped/

“..groundbreaking evidence in the Bailey/DePerno election integrity
case was released early Tuesday in an exclusive from One America
News (OAN). Constitutional attorney Matthew De Perno alleges he has
additional evidence that the machines used in the 2020 election can flip
votes. In the Antrim County race, the vote tally for the Presidential race
was changed by “5,754 votes between November 3 and November 5,” as
reported by Patrick Colbeck on Tuesday. There was a “7,060 vote
difference between the November 3 and final December 17 tally.”

Reconsider decision to sanction and recommend disbarment of Attorney Sidney Powell Page 2 of 5

 
  
 
 

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Specific complaint #2 *

“2, Smartmatic and Dominion were founded by foreign oligarchs and
dictators to ensure computerized ballot-stuffing and vote manipulation to
whatever level was needed to make certain Venezuelan dictator Hugo
Chavez never lost another election.”

These articles confirm Attorney Powell’s assertion that Smartmatic
/ Dominion machines were used in. Venezuela to manipulate votes:
“Venezuela election results were manipulated, voting company says”
By Cody Weddle and Patricia Mazzei, Miami Herald, Updated August
02, 2017 11:05 PM

https://www.miamiherald.com/news/nation-
world/world/americas/venezuela/article 164968042. html

 

“In a stunning admission that fueled opponents of Venezuelan President
Nicol4s Maduro, the company that runs the South American country’s
voting technology said the results of a widely condemned election
Sunday had been manipulated.”

“The chief executive of Smartmatic, a company founded by
Venezuelans specifically to supply voting software for the
administration of the late President Hugo Chavez, acknowledged that
Sunday’s results had been inflated by at least 1 million out of nearly 8.1
million votes.”

“Tt is with the deepest regret that we have to report that the turnout
numbers on Sunday, 30 July, for the constituent assembly in Venezuela
were tampered with,” Antonio Mugica said Wednesday.”

“Eyewitness: How Hugo Chavez stole the August 2004 election in

Venezuela”
By World Tribune on November 24, 2020

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https://www.worldtribuné.com/eyewitness-how-hugo-chavez-stole-the-
august-2004-election-in-venezuela/

“One of the leading opposition voices against the socialist regime in
Venezuela has detailed how dictator Hugo Chavez in 2004 put in place a
voting system to rig the country’s elections in the socialists’ favor.”

“In a Nov. 23 interview with ElAmerican.com, Maria Corina Machado,
Venezuelan civil rights leader and National Assembly member,
described how Chavez used the Smartmatic system, the voting machines
startup bought by Dominion Voting Systems.”

Specific complaint #3

“3, The several spikes cast solely for Biden could easily be produced in
the Dominion system by preloading batches of blank ballots in files such
as Write-Ins, then casting them all for Biden using the Override
Procedure (to cast Write-In ballots) that is available to the operator of
the system,”

Dominion’s Adjudication process is a means by which an
administrator can override/change votes. In this video, a woman
demonstrates how she pre-loads a batch of ballots into the scanner
and proceeds to change the vote selection to Joe Biden.

(3 minute video)

https://rumble.com/vhha79-adjudication-explained. html

This article shows that spikes for Biden also occurred after a
delivery of ballots that arrived 8 hours after the deadline on election
night at the TCF Center. Eyewitnesses’ claims are confirmed by
video footage.

“Exclusive: The TCF Center Election Fraud — Newly Discovered Video
Shows Late Night Deliveries of Tens of Thousands of Illegal Ballots 8
Hours After Deadline” By Jim Hoft

Reconsider decision to sanction and recommend disbarment of Attorney Sidney Powell Page 4 of 5

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Published February 5, 2021 at 7:20am
https://www.thegatewaypundit.com/2021/02/exclusive-tcf-center-
election-fraud-newly-recovered-video-shows-late-night-deliveries-tens-
thousands-illegal-ballots-michigan-arena/

“On Tuesday, November 3rd President Trump was ahead of Joe Biden
in the swing state of Michigan by over 100,000 votes. This appeared to
be another solid win for President Trump in Michigan with a greater
margin than his 2016 victory. The ballot counting in Detroit, Michigan
on election night took place at the TCF Center, formerly known as Cobo
Hall.”

“This is the site where Detroit City Officials put cardboard over the
windows to prevent the GOP observers from seeing in, where poll
workers were militantly hostile to the GOP observers, and where

hundreds of affidavits by election observers claim they witnessed voter
fraud.”

“At least three election observers testified in sworn affidavits that they
witnessed vehicles delivering fraudulent ballots to the TCF Center early
in the morning on November 4th.”

In conclusion, evidence supports Attorney Sidney Powell’s claims in
the Case No. 20-815, “Timothy King, et al vs. Gretchen Whitmer in
her official capacity as Governor of the State of Michigan.”
Attorney Powell pursued her case aggressively, which is to be
expected considering the circumstances of the case.

Considering the évidence, Attorney Sidney Powell does not deserve
to be sanctioned nor disbarred.

Please reconsider your opinion in Civil Case No. 20-13134. Thank you.

Sincerely,
Maria Cunningham, oremus7@verizon.net

Reconsider decision to sanction and recommend disbarment of Attorney Sidney Powell Page 5 of 5

 
